             Case 24-90533 Document 74 Filed in TXSB on 11/12/24 Page 1 of 1



      APPEARANCE SHEET FOR HEARING BEFORE
                   JUDGE PÉREZ
             Tuesday, November 12, 2024
First Name       Last Name      Firm Name                    Client Name
                                Akin Gump Strauss Hauer &
Scott            Alberino       Feld LLP                     Ad Hoc Lender Group
Ryan             Barbur         Levy Gump
                                Akin Ratner,Strauss
                                             P.C. Hauer &    1199SEIU United Healthcare Workers East
Marty            Brimmage       Feld LLP                     Ad Hoc Lender Group
Bob              Bruner         Norton Rose Fulbright US LLP Westchester
                                                             UBS AG, Stamford      Branch Company, Ascot
                                                                            Fire Insurance
Marc             Buchman        Manier & Herod, P.C.         Insurance Company, Pennsylvania Insurance
Michael          Collins        Manier & Herod PC            Westchester Fire Insurance Company
Carmen           Dingman        McDermott
                                Akin Gump Will  & Emery
                                           Strauss  HauerLLP
                                                          &  Wellpath Holdings, Inc.
Kate             Doorley        Feld LLP                     Ad Hoc Lender
                                                             Wellpath          Group
                                                                        Holdings,  Inc., et al., Debtors and Debtors
Bradley          Giordano       McDermott Will & Emery LLP in Possession
Bradley          Giordano       McDermott Will & Emery LLP Wellpath Holdings, Inc.
Cindy            Greenfield     None                         Cobb Sheriff's Office
Marcus           Helt           McDermott Will & Emery LLP Wellpath Holdings, Inc
Matthew          Herron         herronlaw, apc               Kristin Allred; Victoria Klein and Michael Doyle
Susan            Hersh          United States Trustee        United States
                                                             Wellpath        Trustee
                                                                        Holdings,  Inc., et al., Debtors and Debtors
Jacob            Jumbeck        McDermott Will & Emery LLP in Possession
Jake             Jumbeck        McDermott Will & Emery LLP Wellpath Holdings, Inc.
Joel             Levitin        Cahill Gordon & Reindel LLP UBS AG, Stamford Branch
Maria            Mokrzycka      Norton Rose Fulbright US LLP UBS AG, Stamford Branch
Ha               Nguyen         U.S. Trustee                 U.S. Trustee
                                                             Wellpath   Holdings, Inc., et al., Debtors and Debtors
Felicia          Perlman        McDermott Will & Emery LLP in Possession
Felicia          Perlman        McDermott Will & Emery LLP Wellpath Holdings, Inc.,Inc. et al., Debtors and Debtors
Steven           Szanzer        McDermott Will & Emery LLP in Possession
Steven           Szanzer        McDermott
                                Akin Gump Will  & Emery
                                           Strauss  HauerLLP
                                                          &  Wellpath Holdings, Inc.
Benjamin         Taylor         Feld LLP                     Ad Hoc Lender Group
Jordan A.        Wishnew        Cahill Gordon & Reindel LLP Wellpath
                                                             UBS AG, Holdings,
                                                                         Stamford Branch
                                                                                   Inc., et al., Debtors and Debtors
Carole           Wurzelbacher   McDermott Will & Emery LLP in Possession
Carole           Wurzelbacher   McDermott Will & Emery       Debtors
Carole           Wurzelbacher   McDermott Will & Emery LLP Wellpath Holdings, Inc.
